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 4
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE WESTERN DISTRICT OF KENTUCKY
 8
     Darryl Steward, Jr.                          Case No.: 3:17-CV-426-JHM
 9
10                   Plaintiff,

11         vs.                                    COMPLAINT
12
   Experian Information Solutions, Inc.,
13 an Ohio corporation,                           JURY TRIAL DEMAND
14 Equifax Information Services, LLC
   a Georgia company,
15 Trans Union, LLC,
16 a Delaware limited liability company,
   Navient Solutions, LLC,
17
   a Foreign limited liability company, and
18 Sallie Mae, Inc., dba Navient Solutions,
   LLC, a Foreign company,
19
20                  Defendants.
21
22         NOW COMES THE PLAINTIFF, DARRYL STEWARD, JR., BY AND
23
     THROUGH COUNSEL, Jacqueline Heyman, and for his Complaint against the
24
25 Defendants, pleads as follows:
26                                     JURISDICTION
27
        1. Jurisdiction of this court arises under 15 U.S.C. §1681p.
28
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 1    2. This is an action brought by a consumer for violation of the Fair Credit
 2
         Reporting Act (15 U.S.C. §1681 et. seq [hereinafter “FCRA”]).
 3
 4
                                           VENUE
 5
 6    3. The transactions and occurrences which give rise to this action occurred in the
 7       City of Louisville, Jefferson County, Kentucky.
 8
      4. Venue is proper in the Western District of Kentucky.
 9
10                                        PARTIES
11
12    5. Plaintiff, Darryl Steward, Jr., is an individual residing in Louisville, in Jefferson
13       County, Kentucky.
14
      6. The Defendants to this lawsuit are:
15
16          a. Experian Information Solutions, Inc. (“Experian”), which is an Ohio
17
                company that maintains a registered agent in Franklin County, Kentucky;
18
            b. Equifax Information Services, LLC (“Equifax”), which is a Georgia
19
20              company that maintains a registered agent in Franklin County, Kentucky;
21
            c. Trans Union, LLC (“Trans Union”), which is a Delaware limited liability
22
23              company that maintains a registered agent in Franklin County, Kentucky;

24          d. Navient Solutions, LLC (“Navient”), which is a foreign limited liability
25
                company that maintains a registered agent in Franklin County, Kentucky;
26
27              and
28

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 1          e. Sallie Mae, Inc. dba Navient Solutions, LLC (“Sallie Mae”), which is a
 2
                foreign company that maintains a registered agent in Franklin County,
 3
 4              Kentucky.
 5                          GENERAL ALLEGATIONS
 6
      7. In 2007, Mr. Steward, Jr. enrolled in college at ITT Technical Institute.
 7
 8    8. Mr. Steward, Jr. obtained student loans while he attended ITT Technical
 9
         Institute.
10
11    9. In the fall of 2009, he graduated from ITT Technical Institute.

12    10.Mr. Steward, Jr. enrolled at the University of Phoenix in early 2010 within the
13
         six month grace period for the repayment of his student loans. Since he enrolled
14
15       in school within the six month grace period, Mr. Steward was not required to
16       make payments on the student loans.
17
      11.Between the years of March 2010 through June 2014, Mr. Steward, Jr. attended
18
19       the University of Phoenix.
20
      12.In June 2014, Mr. Steward, Jr. graduated from the University of Phoenix. Once
21
         his student loan grace period concluded in November, he consolidated and
22
23       refinanced his loans with Navient.
24
      13.On or about December 14, 2015, Mr. Steward, Jr. received a letter from Navient
25
26       which stated that his student loan was in good standing and not in default.
27
28

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 1    14.On or about February 22, 2017, Mr. Steward, Jr. obtained his credit files and
 2
         noticed that the following trade lines (“Errant Trade Lines”) that are related to
 3
 4       his student loans were reported with false late payments:
 5          a.     Dept of Ed/Navient, Account Number: 93606066981E00**;
 6          b.     Dept of Ed/Navient, Account Number: 93606066981E00**;
            c.     Dept of Ed/Navient, Account Number: 93606066981E00**;
 7
            d.     Dept of Ed/Navient, Account Number: 93606066981E00**;
 8          e.     Dept of Ed/Navient, Account Number: 93606066981E00**;
            f.     Dept of Ed/Navient, Account Number: 93606066981E00**;
 9
            g.     Navient, Account Number: 93606066981000****;
10          h.     Navient, Account Number: 93606066981000****;
11          i.     Sallie Mae, Account Number: 93606066981000****; and
            j.     Sallie Mae, Account Number: 93606066981000****.
12
13    15.On or about March 24, 2017, Mr. Steward, Jr. sent a letter to Experian, Equifax

14       and Trans Union (“CRAs”) disputing the Errant Trade Lines. In these dispute
15
         letters, he explained that he was enrolled during the six month grace period and
16
17       requested that the late payments be removed from the Department of Education
18       Errant Trade Lines and that the “Charge Off” status and late payments be
19
         removed from Sallie Mae Errant Trade Lines.
20
21    16.Upon information and belief, the CRAs forwarded Mr. Steward, Jr.’s consumer
22
         disputes to Sallie Mae and Navient.
23
24    17.On or about April 21, 2017, Mr. Steward, Jr. received Experian’s investigation

25       results which showed that Sallie Mae and Navient retained the errant late
26
         payments on the Errant Trade Lines and Sallie Mae retained the “Charge Off”
27
28       status.

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 1    18.On or about April 24, 2017, Mr. Steward, Jr., received Trans Union’s
 2
         investigation results which showed that Sallie Mae and Navient retained the
 3
 4       errant late payments on the Errant Trade Lines.
 5    19.On or about May 4, 2017, Mr. Steward, Jr. obtained his Equifax credit file. This
 6
         revealed that Sallie Mae and Navient retained the errant late payments on the
 7
 8       Errant Trade Lines and Sallie Mae retained the “Charge Off” language.
 9
         As a direct and proximate cause of the Defendants’ negligent and/or willful
10
11       failure to comply with the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.,

12       Plaintiff has suffered credit and emotional damages. Due to the Defendants’
13
         failure to correct the errors in his credit file, Plaintiff have been forced to refrain
14
15       from applying for new credit or more favorable terms on existing credit lines.
16       Plaintiff has also experienced undue stress and anxiety due to Defendants’
17
         failure to correct the errors in his credit file or improve his financial situation by
18
19       obtaining new or more favorable credit terms as a result of the Defendants’
20
         violations of the FCRA.
21
                                           COUNT I
22
23   NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
24                          NAVIENT

25    20. Plaintiff realleges the above paragraphs as if recited verbatim.
26
      21.After being informed by the CRAs of Mr. Steward’s consumer dispute of the
27
28       incorrect late payments of the Errant Trade Lines, Navient negligently failed to

                                                5
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 1         conduct a proper investigation of Mr. Steward’s dispute as required by 15 USC
 2
           § 1681s-2(b).
 3
 4     22.Navient negligently failed to review all relevant information available to it and
 5         provided by the CRAs in conducting its reinvestigation as required by 15 USC
 6
           §1681s-2(b). Specifically, it failed to direct the CRAs to correct the erroneous
 7
 8         late payments of the Errant Trade Lines.
 9
       23.The Errant Trade Lines are inaccurate and creating a misleading impression on
10
11         Mr. Steward’s consumer credit file with the CRAs to which it is reporting such

12         trade lines.
13
       24.As a direct and proximate cause of Navient’s negligent failure to perform its
14
15         duties under the FCRA, Mr. Steward has suffered damages, mental anguish,
16         suffering, humiliation and embarrassment.
17
       25.Navient is liable to Mr. Steward by reason of its violations of the FCRA in an
18
19         amount to be determined by the trier fact together with reasonable attorneys’
20
           fees pursuant to 15 USC §1681o.
21
       26.Mr. Steward has a private right of action to assert claims against Navient arising
22
23         under 15 USC §1681s-2(b).
24
25     WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

26 against the Defendant Navient for damages, costs, interest and attorneys’ fees.
27
                                       COUNT II
28

                                               6
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 1      WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
 2                            NAVIENT
 3      27. Plaintiff realleges the above paragraphs as if recited verbatim.
 4
        28.After being informed by the CRAs that Mr. Steward disputed the accuracy of
 5
 6         the information it was providing, Navient willfully failed to conduct a proper
 7
           reinvestigation of Mr. Steward’s dispute.
 8
        29.Navient willfully failed to review all relevant information available to it and
 9
10         provided by the CRAs as required by 15 USC §1681s-2(b).
11
        30.As a direct and proximate cause of Navient’s willful failure to perform its duties
12
13         under the FCRA, Mr. Steward has suffered damages, mental anguish, suffering,

14         humiliation and embarrassment.
15
        31.Navient is liable to Mr. Steward for either statutory damages or actual damages
16
17         he has sustained by reason of its violations of the FCRA in an amount to be
18         determined by the trier fact, together with an award of punitive damages in the
19
           amount to be determined by the trier of fact, as well as for reasonable attorneys’
20
21         fees and he may recover therefore pursuant to 15 USC §1681n.
22
23      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment

24 against the Defendant Navient for the greater of statutory or actual damages, plus
25
     punitive damages, along with costs, interest and attorneys’ fees.
26
27                                         COUNT III
28

                                                7
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 1   NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
 2                         SALLIE MAE
 3    32. Plaintiff realleges the above paragraphs as if recited verbatim.
 4
      33.After being informed by the CRAs of Mr. Steward’s consumer dispute of the
 5
 6       incorrect late payments and charge off status of the Errant Trade Lines, Sallie
 7
         Mae negligently failed to conduct a proper investigation of Mr. Steward’s
 8
         dispute as required by 15 USC §1681s-2(b).
 9
10    34.Sallie Mae negligently failed to review all relevant information available to it
11
         and provided by the CRAs in conducting its reinvestigation as required by 15
12
13       §USC 1681s-2(b). Specifically, it failed to direct the CRAs to correct the

14       erroneous late payments and charge off status of the Errant Trade Lines.
15
      35.The Errant Trade Lines are inaccurate and creating a misleading impression on
16
17       Mr. Steward’s consumer credit file with the CRAs to which it is reporting such
18       trade lines.
19
      36.As a direct and proximate cause of Sallie Mae’s negligent failure to perform its
20
21       duties under the FCRA, Mr. Steward has suffered damages, mental anguish,
22
         suffering, humiliation and embarrassment.
23
24    37.Sallie Mae is liable to Mr. Steward by reason of its violations of the FCRA in

25       an amount to be determined by the trier fact together with reasonable attorneys’
26
         fees pursuant to 15 USC §1681o.
27
28

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 1      38.Mr. Steward has a private right of action to assert claims against Sallie Mae
 2
           arising under 15 USC §1681s-2(b).
 3
 4      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment
 5
     against the Defendant Sallie Mae for damages, costs, interest and attorneys’ fees.
 6
 7                                         COUNT IV
 8
        WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT BY
 9                           SALLIE MAE
10
        39. Plaintiff realleges the above paragraphs as if recited verbatim.
11
12      40.After being informed by the CRAs that Mr. Steward disputed the accuracy of

13         the information it was providing, Sallie Mae willfully failed to conduct a proper
14
           reinvestigation of Mr. Steward’s dispute.
15
16      41.Sallie Mae willfully failed to review all relevant information available to it and
17         provided by the CRAs as required by 15 USC §1681s-2(b).
18
        42.As a direct and proximate cause of Sallie Mae’s willful failure to perform its
19
20         duties under the FCRA, Mr. Steward has suffered damages, mental anguish,
21
           suffering, humiliation and embarrassment.
22
23      43.Sallie Mae is liable to Mr. Steward for either statutory damages or actual

24         damages he has sustained by reason of its violations of the FCRA in an amount
25
           to be determined by the trier fact, together with an award of punitive damages
26
27         in the amount to be determined by the trier of fact, as well as for reasonable
28         attorneys’ fees and he may recover therefore pursuant to 15 USC §1681n.

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 1      WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment
 2
     against the Defendant Sallie Mae for the greater of statutory or actual damages, plus
 3
 4 punitive damages, along with costs, interest and attorneys’ fees.
 5
                                           COUNT V
 6
 7      NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
 8                          BY EXPERIAN
 9      44.Plaintiff realleges the above paragraphs as if recited verbatim.
10
        45.Defendant Experian prepared, compiled, issued, assembled, transferred,
11
12         published, and otherwise reproduced consumer reports regarding Mr. Steward
13
           as that term is defined in 15 USC §1681a.
14
        46.Such reports contained information about Mr. Steward that was false,
15
16         misleading, and inaccurate.
17
        47.Experian negligently failed to maintain and/or follow reasonable procedures to
18
19         assure maximum possible accuracy of the information it reported to one or

20         more third parties pertaining to Mr. Steward, in violation of 15 USC §1681e(b).
21
        48. After receiving Mr. Steward’s consumer dispute to the Errant Trade Lines,
22
23         Experian negligently failed to conduct a reasonable reinvestigation as required
24         by 15 USC §1681i.
25
26
27
28

                                                10
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 1     49.As a direct and proximate cause of Experian’s negligent failure to perform its
 2
           duties under the FCRA, Mr. Steward has suffered actual damages, mental
 3
 4         anguish and suffering, humiliation, and embarrassment.
 5     50.Experian is liable to Mr. Steward by reason of its violation of the FCRA in an
 6
           amount to be determined by the trier fact together with his reasonable attorneys’
 7
 8         fees pursuant to 15 USC §1681o.
 9
           WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment
10
11 against Experian for actual damages, costs, interest, and attorneys’ fees.
12                                        COUNT VI
13
          WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
14                           BY EXPERIAN
15
       51.Plaintiff realleges the above paragraphs as if recited verbatim.
16
17     52.Defendant Experian prepared, compiled, issued, assembled, transferred,

18         published, and otherwise reproduced consumer reports regarding Mr. Steward
19
           as that term is defined in 15 USC §1681a.
20
21     53.Such reports contained information about Mr. Steward that was false,
22         misleading, and inaccurate.
23
       54.Experian willfully failed to maintain and/or follow reasonable procedures to
24
25         assure maximum possible accuracy of the information that it reported to one or
26
           more third parties pertaining to Mr. Steward, in violation of 15 USC §1681e(b).
27
28

                                               11
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 1     55. After receiving Mr. Steward’s consumer dispute to the Errant Trade Lines,
 2
          Experian willfully failed to conduct a reasonable reinvestigation as required by
 3
 4        15 USC §1681i.
 5     56.As a direct and proximate cause of Experian’s willful failure to perform its
 6
          duties under the FCRA, Mr. Steward has suffered actual damages, mental
 7
 8        anguish and suffering, humiliation, and embarrassment.
 9
       57.Experian is liable to Mr. Steward by reason of its violations of the FCRA in an
10
11        amount to be determined by the trier of fact together with his reasonable

12        attorneys’ fees pursuant to 15 USC §1681n.
13
          WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment
14
15 against Experian for the greater of statutory or actual damages, plus punitive damages,
16 along with costs, interest, and attorneys’ fees.
17
                                         COUNT VII
18
19      NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                            BY EQUIFAX
20
21     58.Plaintiff realleges the above paragraphs as if recited verbatim
22
       59.Defendant Equifax prepared, compiled, issued, assembled, transferred,
23
24        published and otherwise reproduced consumer reports regarding Mr. Steward as

25        that term is defined in 15 USC §1681a.
26
       60.Such reports contained information about Mr. Steward that was false,
27
28        misleading and inaccurate.

                                              12
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 1     61.Equifax negligently failed to maintain and/or follow reasonable procedures to
 2
           assure maximum possible accuracy of the information it reported to one or
 3
 4         more third parties pertaining to Mr. Steward, in violation of 15 USC §1681e(b).
 5     62. After receiving Mr. Steward’s consumer dispute to the Errant Trade Lines,
 6
           Equifax negligently failed to conduct a reasonable reinvestigation as required
 7
 8         by 15 USC §1681i.
 9
       63.As a direct and proximate cause of Equifax’s negligent failure to perform its
10
11         duties under the FCRA, Mr. Steward has suffered actual damages, mental

12         anguish and suffering, humiliation and embarrassment.
13
       64.Equifax is liable to Mr. Steward by reason of its violation of the FCRA in an
14
15         amount to be determined by the trier fact together with his reasonable attorneys’
16         fees pursuant to 15 USC §1681o.
17
           WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment
18
19 against Equifax for actual damages, costs, interest and attorneys’ fees.
20
                                         COUNT VIII
21
          WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
22
                             BY EQUIFAX
23
24     65.Plaintiff realleges the above paragraphs as if recited verbatim.

25     66.Defendant Equifax prepared, compiled, issued, assembled, transferred,
26
           published and otherwise reproduced consumer reports regarding Mr. Steward as
27
28         that term is defined in 15 USC §1681a.

                                               13
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 1      67.Such reports contained information about Mr. Steward that was false,
 2
           misleading and inaccurate.
 3
 4      68.Equifax willfully failed to maintain and/or follow reasonable procedures to
 5         assure maximum possible accuracy of the information that it reported to one or
 6
           more third parties pertaining to Mr. Steward, in violation of 15 USC §1681e(b).
 7
 8      69. After receiving Mr. Steward’s consumer dispute to the Errant Trade Lines,
 9
           Equifax willfully failed to conduct a reasonable reinvestigation as required by
10
11         15 USC §1681i.

12      70.As a direct and proximate cause of Equifax’s willful failure to perform its duties
13
           under the FCRA, Mr. Steward has suffered actual damages, mental anguish and
14
15         suffering, humiliation and embarrassment.
16      71.Equifax is liable to Mr. Steward by reason of its violations of the FCRA in an
17
           amount to be determined by the trier of fact together with his reasonable
18
19         attorneys’ fees pursuant to 15 USC §1681n.
20
21
           WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment
22
23 against Defendant Equifax for the greater of statutory or actual damages, plus punitive
24
     damages along with costs, interest and reasonable attorneys’ fees.
25
26
27
28

                                               14
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 1                                       COUNT IX
 2
        NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
 3                        BY TRANS UNION
 4
       72.Plaintiff realleges the above paragraphs as if recited verbatim.
 5
 6     73.Defendant Trans Union prepared, compiled, issued, assembled, transferred,
 7
          published and otherwise reproduced consumer reports regarding Mr. Steward as
 8
          that term is defined in 15 USC §1681a.
 9
10     74.Such reports contained information about Mr. Steward that was false,
11
          misleading and inaccurate.
12
13     75.Trans Union negligently failed to maintain and/or follow reasonable procedures

14        to assure maximum possible accuracy of the information it reported to one or
15
          more third parties pertaining to Mr. Steward, in violation of 15 USC §1681e(b).
16
17     76. After receiving Mr. Steward’s consumer dispute to the Errant Trade Lines,
18        Trans Union negligently failed to conduct a reasonable reinvestigation as
19
          required by 15 USC §1681i.
20
21     77.As a direct and proximate cause of Trans Union’s negligent failure to perform
22
          its duties under the FCRA, Mr. Steward has suffered actual damages, mental
23
24        anguish and suffering, humiliation and embarrassment.

25     78.Trans Union is liable to Mr. Steward by reason of its violation of the FCRA in
26
          an amount to be determined by the trier fact together with his reasonable
27
28        attorneys’ fees pursuant to 15 USC §1681o.

                                               15
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 1         WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment
 2
     against Trans Union for actual damages, costs, interest and attorneys’ fees.
 3
 4                                         COUNT X
 5        WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
 6                         BY TRANS UNION
 7
        79.Plaintiff realleges the above paragraphs as if recited verbatim.
 8
        80.Defendant Trans Union prepared, compiled, issued, assembled, transferred,
 9
10         published and otherwise reproduced consumer reports regarding Mr. Steward as
11
           that term is defined in 15 USC §1681a.
12
13      81.Such reports contained information about Mr. Steward that was false,

14         misleading and inaccurate.
15
        82.Trans Union willfully failed to maintain and/or follow reasonable procedures to
16
17         assure maximum possible accuracy of the information that it reported to one or
18         more third parties pertaining to Mr. Steward, in violation of 15 USC §1681e(b).
19
        83. After receiving Mr. Steward’s consumer dispute to the Errant Trade Lines,
20
21         Trans Union willfully failed to conduct a reasonable reinvestigation as required
22
           by 15 USC §1681i.
23
24      84.As a direct and proximate cause of Trans Union’s willful failure to perform its

25         duties under the FCRA, Mr. Steward has suffered actual damages, mental
26
           anguish and suffering, humiliation and embarrassment.
27
28

                                                16
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 1      85.Trans Union is liable to Mr. Steward by reason of its violations of the FCRA in
 2
           an amount to be determined by the trier of fact together with his reasonable
 3
 4         attorneys’ fees pursuant to 15 USC §1681n.
 5         WHEREFORE, PLAINTIFF PRAYS that this court grants him a judgment
 6
     against Defendant Trans Union for the greater of statutory or actual damages, plus
 7
 8 punitive damages along with costs, interest and reasonable attorneys’ fees.
 9
10
                                       JURY DEMAND
11
12         Plaintiff hereby demands a trial by Jury.
13
14
     DATED: July 13, 2017
15
16
17
18                                             By: /s/ Jacqueline K. Heyman
                                               Jacqueline K. Heyman
19                                             236 Eastin Road
20                                             Lexington, KY 40504
                                               (859) 940-4201
21
                                               Attorney for Plaintiff,
22                                             Darryl Steward, Jr.
23
24
25
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